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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

NICOLE BEAUSOLEIL, Personal
Representative of the Estate of Madisyn
Baldwin, deceased,

             Plaintiff,
                                                     No.
-v-                                                  Hon.

OXFORD COMMUNITY SCHOOL DISTRICT;
TIMOTHY THRONE, in his individual capacity;
STEVEN WOLF, in his individual capacity;
NICHOLAS EJAK, in his individual capacity;
SHAWN HOPKINS, in his individual capacity;
jointly and severally,

             Defendants.

                      COMPLAINT AND JURY DEMAND

      NOW COMES the Plaintiff, NICOLE BEAUSOLEIL, Personal

Representative of the Estate of Madisyn Baldwin, by and through her attorneys,

MUELLER LAW FIRM, by WOLFGANG MUELLER, and files her Complaint

against the Defendants in this civil action, stating unto this Court as follows:

      1.     This is an action for damages brought pursuant to 42 U.S.C. §§1983

and 1988, the Fourteenth Amendment to the United States Constitution, and the

statutes and common law of the State of Michigan, against Defendants, OXFORD

COMMUNITY SCHOOL DISTRICT (“OCSD”), TIMOTHY THRONE

(“THRONE”), in his individual capacity; STEVEN WOLF (“WOLF”), in his
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individual capacity; NICHOLAS EJAK (“EJAK”), in his individual capacity; and

SHAWN HOPKINS (“HOPKINS”), in his individual capacity.

      2.     Jurisdiction is founded upon 28 U.S.C. §1331 and 28 U.S.C. §1343.

      3.     Venue is proper pursuant to 28 U.S.C. §1391(d), as the situs of the

incident was Oakland County, Michigan, within the Eastern District of Michigan,

and the parties reside in the Eastern District of Michigan.

      4.     At all pertinent times, Plaintiff’s decedent, Madisyn Baldwin, then 17,

was a United States citizen and a student in her senior year at Oxford High School.

She had been at Oxford High School for only three months, having transferred

from Clarkston High School.

      5.     At all pertinent times, Defendant, THRONE, was employed as the

Superintendent of OCSD, and was acting under color of law and within the scope

of his employment.

      6.     At all pertinent times, Defendant, WOLF, was employed as Principal

of Oxford High School, within the OCSD, and was acting under color of law and

within the scope of his employment.

      7.     At all pertinent times, Defendant, EJAK, was employed as Dean of

Students at Oxford High School, within the OCSD, and was acting under color of

law and within the scope of his employment.

      8.     At all pertinent times, Defendant, HOPKINS, was employed as a


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school counselor at Oxford High School, within the OCSD, and was acting under

color of law and within the scope of his employment.

                          GENERAL ALLEGATIONS

      9.     Ever since mass school shootings in the United States began garnering

worldwide attention (Columbine High School, Littleton, CO, 1999; Sandy Hook

Elementary School, Newtown, CT, 2012; Stoneman Douglas High School,

Parkland, FL, 2018; and numerous others), school administrators and staff,

including those at OCSD, have undergone countless training sessions to recognize

the symptoms and root causes of such violence.

      10.    School staff, including those at OCSD, have been educated and

trained to recognize patterns in school shootings. Notably, studies of such

incidents have revealed that the vast majority of students or former students

involved in mass school shootings were suicidal before unleashing their violence

on unsuspecting students. Additionally, it has been well known that the

overwhelming majority of shooters suffered from mental health crises before the

incidents.

      11.    The purpose of such extensive training and education is to teach

school administrators and staff that such actions are not the result of “random acts

of violence”; instead, they are predictable and preventable.

      12.    Tragically, on November 30, 2021, school officials and administrators


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at Oxford High School ignored their training and took affirmative actions, in

accordance with school policy, to remove a mentally unstable student, 15-year-old

E.C., from a place of safety in the school counselor’s office and return him to the

school population, despite his obvious suicidal and homicidal ideations and access

to weapons.

      13.      The unfathomable violence that occurred on November 30, 2021, took

the lives of four students, including Madisyn Baldwin, 17, and injured seven other

individuals, including a teacher. The school shooting was both predictable and

preventable.

            THE EVENTS ON AND BEFORE NOVEMBER 30, 2021

      14.      In the fall of 2021, E.C. was in the first semester of his sophomore

year at Oxford High School. He became known to school staff, including teachers,

counselors, and administrators, as a child who may be suffering from mental

illness and/or child abuse and neglect, given his outwardly depressed mood and

disheveled appearance.

      15.      In the weeks leading up to November 30, several events occurred that

put Oxford High School teachers, counselors, and administrators on notice that

E.C.’s mental health was deteriorating.

      16.      In early November, E.C.’s Spanish teacher emailed Defendant,

HOPKINS, that E.C. seemed “sad.” HOPKINS contacted E.C. and told him he


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was available if E.C. wanted to talk to somebody. E.C. simply responded, “Okay.”

        17.   On or about November 11, students found the severed head of a bird

in a boys’ bathroom. It was reported to Defendant, WOLF.1

        18.   WOLF chose not to disclose this incident to school staff or parents.

        19.    On November 12, OCSD administrators sent an email to Oxford High

School parents, stating, “We are aware of the numerous rumors that have been

circulating throughout our building this week …. Please know that we have

reviewed every concern shared with us and investigated all information provided

…. We want our parents and students to know that there has been no threat to our

building nor our students.”

        20.   On or around November 16, Defendant, WOLF, was informed by

several parents that there were threats made to students at Oxford High School on

social media, as well as concerns over severed animal heads at the school.

        21.   Instead of investigating these threats, which caused several students to

be afraid for their safety at school, OCSD administrators, including Defendant,

WOLF, blithely ignored the threats.

        22.   On November 16, WOLF emailed parents, stating, “I know I’m being

redundant here, but there is absolutely no threat here at the HS . . . large


1
  E.C.’s journal documented that he severed the bird’s head. Cell phone records
discovered by police after the tragic shooting incident showed video of E.C.
severing a bird’s head.
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assumptions were made from a few social media posts, then the assumptions

evolved into exaggerated rumors.”

      23.    On November 16, Defendant, THRONE, took to the Oxford HS

loudspeaker and told students that there was no credible threat to their safety.

      24.    On November 26, E.C.’s parents bought him a Sig Sauer 9 mm, semi-

automatic handgun as an early Christmas gift.

       25.   On November 26, 2021, E.C. posted a picture of the Sig Saur 9 mm

semi-automatic handgun to his social media account with the caption: “[J]ust got

my new beauty today [heart eyes emoji] Sig Saur 9 mm. Any questions I will

answer.”

      26.    The next day, E.C.’s mother posted the following to her public social

media account: “[M]om and son day testing out his new Christmas present.” The

posting was a clear reference to E.C. firing his handgun at a shooting range.

      November 29, 2021

      27.    On November 29, E.C.’s Spanish teacher emailed Defendant, EJAK,

and Pam Fine, OCSD’s Restorative Practices Coordinator, telling them that E.C.

had been using his cell phone during class to look up information about bullets.

      28.    The email was forwarded to Defendant, HOPKINS, E.C.’s counselor.

      29.    At about 9:00 that morning, E.C. was summoned to Ms. Fine’s office

for a meeting with Fine and HOPKINS. The meeting only lasted five minutes.


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      30.    During the short meeting, E.C. was informed that looking up bullets

while in school was not “school appropriate behavior.”

      31.    In response, E.C. informed HOPKINS and Fine that he had gone to a

gun range with his mother over the weekend and tested out his new handgun. He

claimed that he was simply researching information about bullets because shooting

guns was his hobby.

      32.    E.C. was returned to class. Fine then called E.C.’s mother and left her

a voicemail message. Per OCSD policy, E.C.’s mother was not required to return

the call, as the incident had not been deemed a “disciplinary incident.”

      33.    On November 29, E.C. posted on his public Twitter account, “Now I

am become Death, the destroyer of worlds. See you tomorrow Oxford.”

      November 30, 2021

      34.    On November 30, at approximately 8:30 a.m., E.C.’s English teacher

sent an email to HOPKINS stating that E.C. had been watching a violent shooting

video on his cell phone during class hours.

      35.    Shortly before 9:00 a.m., E.C.’s math teacher reported to EJAK that

E.C. drew extremely disturbing pictures and words on his math assignment. The

math assignment showed a picture of E.C.’s handgun with gunshot wounds to the

torso and blood coming from the victim’s mouth. A bullet was drawn under the

words, “Blood everywhere.” A crying face emoji was on the paper with the


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words, “The thoughts won’t stop. Help me” and “My life is useless.”




                            E.C. drawing November 30, 2021

      36.   The math teacher took a photo of the page before E.C. was able to

change it by scratching out the drawings and words, replacing them with “video

game this is”; harmless act”; I love my life so much!!!!”; OHS rocks!”; and

“we’re all friends here.”

      37.   EJAK advised HOPKINS of the drawings he had seen. HOPKINS

went to E.C.’s class and took him to the counseling office.

      38.   EJAK then went to the math classroom and found E.C.’s backpack.

He took the backpack to the counseling office.

      39.   In handling the backpack, EJAK could tell that the backpack was


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unusually heavy for a school backpack and that the weight was not evenly

distributed as a backpack would be if filled with books.

      40.    The weight and distribution were unusual because the backpack was

filled with a Sig Sauer 9 mm metal handgun and 48 bullets.

      41.    EJAK took the backpack to the counseling office where E.C. and

HOPKINS waited. EJAK kept the backpack within his possession and control.

      42.    EJAK and HOPKINS questioned E.C. about the shooting video he

was watching on his phone in English class. EJAK told the men that he was

watching a video game.

      43.    Neither EJAK nor HOPKINS verified whether E.C. had been

watching a video game.

      44.    E.C. was questioned about the disturbing drawings on his math

assignment. E.C. simply stated that it was for a video game he wanted to design.

      45.    HOPKINS responded, “This does not sound like a video game,”

indicating that he did not believe E.C.’s explanation.

      46.    E.C. suddenly became sad and described many stressors that had

occurred recently in his life, including the death of his beloved dog, the death of a

grandparent, and the loss of a close friend who had to leave school.

      47.    EJAK and HOPKINS, both well trained in spotting signs of mental

illness and potential school violence, deemed E.C. to be suicidal with homicidal


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ideations, as evidenced by the disturbing drawings in his math assignment.

      48.    However, when HOPKINS asked E.C. if he was a threat to himself or

others, E.C. responded, “I can see why this looks bad. I’m not going to do

anything.”

      49.    HOPKINS would later testify that he did not accept E.C.’s answer,

concluding that E.C. was “a threat to himself in spite of his statement.”

      50.    Despite HOPKINS’ self-serving statement, he and EJAK had actual

knowledge that E.C. was homicidal and that he posed a significant and substantial

threat to foreseeable victims; namely, students within the confined school building.

      51.    HOPKINS then contacted E.C.’s mother, who was told to come to

school for a meeting about their son.

      52.    At approximately 10:30 a.m., E.C.’s mother and father walked into

the counseling office.

      53.    EJAK and HOPKINS were immediately struck by E.C.’s parents’ lack

of warmth toward their child and their display of outward coldness toward him.

      54.    HOPKINS proceeded to tell the parents why he was concerned about

E.C.’s mental health status, explaining the events from that morning and the

previous day. He explained that he thought E.C. was suicidal and that he needed

counseling, “today, if possible.”

      55.    E.C.’s parents refused to take him to counseling that day because they


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both had to return to work.

      56.    In front of E.C., HOPKINS told the parents that if E.C. didn’t receive

mental health counseling within 48 hours, he would report the parents to Child

Protective Services (“CPS”). The clear implication of this statement, or threat, was

that E.C. would be removed from the house and the parents would lose custody

over their child.

      57.    E.C.’s parents adamantly refused to take E.C. home that day. Instead,

E.C.’s mother insouciantly asked, “Are we done?”

      58.    HOPKINS turned to EJAK and asked whether there was any

disciplinary issue that would prevent E.C. from returning to class. When EJAK

responded, “No,” HOPKINS told the parents, “I guess we are done.”

      59.    The threat about contacting CPS had the clear and obvious effect of

accelerating E.C.’s already rapidly deteriorating mental health.

      60.    During the entirety of the meeting, E.C.’s backpack, with a handgun

and bullets, sat in the office unsearched, despite EJAK having handled it and

knowing of its weight and uneven distribution.

      61.    EJAK and HOPKINS deliberately chose not to search E.C.’s

backpack (or locker), despite a Michigan statute stating that a student has no

expectation of privacy in a backpack or locker. MCL 380.1306.

      62.    EJAK and HOPKINS, being well-trained in spotting issues of mental


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health and their relation to mass school violence, recognized that E.C.’s parents

were either mentally incapable of helping their son or simply unwilling to do so.

      63.    At that point, E.C.’s parents left the school. EJAK and HOPKINS

chose to return E.C. to his classroom with his backpack. In doing so, EJAK and

HOPKINS took E.C. from a place of safety and placed him in the school

population with complete access to his handgun and bullets.

      64.    EJAK and HOPKINS, despite recognizing that E.C. was suicidal and

homicidal, deliberately chose not to involve the school’s liaison police officer, an

Oakland County Sheriff’s deputy with specific training in dealing with students

like E.C.

      65.    The first thing the sheriff’s deputy would have done upon being

notified of the circumstances would be to check E.C.’s backpack and locker. The

gun and bullets would have been discovered and E.C. would have been expelled

from school. The tragedy would have been avoided.

      66.    Instead, within two hours of being let back into the school population,

E.C. went into a bathroom with his backpack and emerged with his Sig Sauer

handgun.

      67.    E.C. began to shoot at any student he saw, hell-bent on causing as

much destruction as possible, as predicted the day before on his public Twitter

account, when he posted, “Now I am become Death, the destroyer of worlds. See


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you tomorrow Oxford.”

      68.    When he was done with the rampage, three students were dead (a

fourth student would die from his wounds the next day), including Madisyn

Baldwin, a beautiful high school senior with a 4.3 GPA. Additionally, six other

students and one teacher were severely wounded, and the entire student body and

staff were traumatized.

      69.    As a direct and proximate result of Defendants’ misconduct, set forth

herein, Plaintiff suffered the following injuries and damages:

             a.    All damages allowed under Michigan’s Wrongful Death
                   statute, MCL 600.2922;

             b.    Past and future compensatory damages against all
                   Defendants pursuant to 42 U.S.C. §1983;

             c.    Punitive damages allowed under 42 U.S.C. §1983;

             d.    Unreimbursed medical, burial, and funeral expenses;

             e.    Conscious pain and suffering experienced by Madisyn
                   Baldwin after being shot; and,

             f.    Loss of the society and companionship of Madisyn Baldwin
                   experienced by her heirs.

                                     COUNT I

              14th AMENDMENT “STATE CREATED DANGER”
                   BY DEFENDANTS EJAK AND HOPKINS

      70.    Plaintiff incorporates by reference each preceding paragraph as if

fully stated herein.

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       71.    At all times, Plaintiff’s decedent had a constitutional right, secured by

the 14th Amendment, not to be deprived of her life and substantive due process by

government actors, acting with deliberate indifference, who placed a mentally ill

student with homicidal and suicidal ideations back into the school population after

he was safe and secure within the confines of the school counselor’s office.

       72.    Plaintiff’s decedent’s constitutional right to bodily integrity and not to

be deprived of life and due process was clearly established before November 30,

2021. Kallstrom v. City of Columbus, 136 F.3d 1055, 1063 (6th Cir. 2006) (“[i]t

goes without saying that an individual’s ‘interest in preserving her life is one of

constitutional dimensions.’ ”) (quoting Nishiyama v. Dickson County, 814 F.2d

277, 280 (6th Cir. 1987 (en banc)); McQueen v. Beecher Comm. Schools, 433 F.3d

460 (6th Cir. 2006) (where a student shot and killed another student after being left

alone by a teacher, the court stated, “[t]herefore, the first §1983 element –

deprivation of a right secured by the Constitution or laws of the United States – is

clearly satisfied.”).

       73.    EJAK and HOPKINS’ affirmative act of sending E.C. back to class

while knowing he exhibited suicidal and homicidal ideations and had access to

guns, as described above, created or increased the risk that Madisyn Baldwin

would be exposed to an act of violence by E.C.

       74.    EJAK and HOPKINS’ affirmative act created a special danger that


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Madisyn Baldwin and other students within the closed school building would be

placed specifically at risk, as opposed to the public at large.

      75.     Since the risk of violence was so obvious under the above-described

circumstances, EJAK and HOPKINS knew or should have known that their actions

specifically endangered Madisyn Baldwin and the other students within the closed

school building.

      76.     In returning E.C. to the school population after the parents’ meeting,

EJAK and HOPKINS acted with deliberate indifference to the constitutional rights

of Madisyn Baldwin and other students in the school. Defendants had plenty of

time for reflection and unhurried judgment before choosing their fateful course of

action.

      77.     EJAK and HOPKINS’ actions would shock the conscience of any

reasonable person looking at the circumstances of November 30, 2021, as it was

perfectly clear that E.C. was crying out for help and his parents were mentally unfit

or unwilling to help. Thus, EJAK and HOPKINS were the only two adults left in

the room who could have prevented this predictable tragedy. They failed.

                                      COUNT II

            MONELL LIABILITY OF OCSD UNDER 42 U.S.C. § 1983

      78.     Plaintiff incorporates by reference each and every previous allegation.

      79.     On and before November 30, 2021, OCSD had policies and customs


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in place that included, at a minimum:

            a.   An official policy of preventing trained staff and school
                 administrators from suspending students or removing them
                 from school unless there existed a “disciplinary
                 justification” for such actions;

            b.   An unofficial custom or practice of preventing trained staff
                 and school administrators from suspending students or
                 removing them from school unless there existed a
                 “disciplinary justification” for such actions;

            c.   An unofficial custom or practice of minimizing or
                 misrepresenting the severity of threats of violence by
                 students or failing to adequately investigate same;

            d.   An unofficial custom or practice of not notifying law
                 enforcement officials, including the school’s liaison
                 officer, of the foreseeable risk of violence to students from
                 another student;

            e.   An unofficial custom or practice of minimizing or
                 misrepresenting the severity of threats of violence by
                 students in mental health crises if they did not comport
                 with the OCSD’s definition of a “disciplinary justification”
                 for such actions;

            f.   An unofficial custom or practice of discouraging staff from
                 reporting suspected child abuse or neglect, in dereliction of
                 their duties as mandatory reporters under MCL 722.623;
                 and,

            g.   An unofficial custom or practice of discouraging staff from
                 searching student lockers and their contents, including
                 backpacks, despite students having no expectation of
                 privacy under MCL 380.1306.

      80.   The OCSD policies, customs, and practices, were the moving force

behind the constitutional violations committed against Madisyn Baldwin and

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others by the above-named individual Defendants.

                                    COUNT III

                  GROSS NEGLIGENCE BY DEFENDANTS
                  THRONE, WOLF, EJAK AND HOPKINS

      81.    Plaintiff incorporates by reference each and every previous allegation.

      82.    On and before November 30, 2021, the above-named individual

Defendants were under a duty not to act with reckless disregard for the safety of

foreseeable individuals entrusted to their care, including Madisyn Baldwin and

other students in Oxford High School.

      83.    Defendants breached their duties in at least the following manner:

             a.   EJAK and HOPKINS, despite their actual knowledge of
                  E.C.’s mental health crisis, his parents’ ambivalence
                  toward his mental health, and E.C’s suicidal and homicidal
                  ideations that day, deliberately chose to allow E.C. to
                  return to class with his backpack and not to contact the
                  school liaison officer, who would have been equipped to
                  prevent such violence;

             b.   WOLF and THRONE repeatedly minimized and
                  misrepresented the severity of the threat of violence in the
                  weeks leading up to the tragedy, describing them as
                  “exaggerated rumors” and stating that there was “no threat
                  to our building nor our students.”

             c.   Defendants’ actions constitute “gross negligence,” defined as
                  “conduct so reckless as to demonstrate a substantial lack of
                  concern for whether an injury results.” MCL 691.1407(8)(a).

             d.   The individual defendants’ gross negligence was the proximate
                  cause of Plaintiff’s injuries and damages.


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                           PRAYER FOR DAMAGES

      WHEREFORE, Plaintiff, NICOLE BEAUSOLEIL, Personal representative

of the Estate of Madisyn Baldwin, deceased, prays for damages against Defendants

for their wrongful conduct, jointly and severally, including:

             a.   Past and future compensatory damages against all
                  defendants pursuant to 42 U.S.C. §1983;

             b.   Punitive damages as to the individual defendants pursuant
                  to 42 U.S.C. §1983;

             c.   Reasonable attorney fees and costs pursuant to 42 U.S.C.
                  §1988;

             d.   The costs and disbursements of this action pursuant to 42
                  U.S.C. §1920;

             e.   All damages allowed under Michigan’s Wrongful Death
                  Act, MCL 600.2922; and,

             f.   Such other and further relief as appears just and proper.



                                       s/Wolfgang Mueller
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                                       wolf@wolfmuellerlaw.com
                                       (P43728)
Dated: June 7, 2022




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                               JURY DEMAND

     Plaintiff demands a jury trial in the above-captioned matter.



                                     s/Wolfgang Mueller
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Dated: June 7, 2022




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